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           IN THE UNITED STATES DISTRICT COURT FOR THE
                  NORTHERN DISTRICT OF FLORIDA
                      TALLAHASSEE DIVISION

DONNY PHILLIPS,
      Plaintiff,
v.                                                 Case No. 4:18-cv-139-AW-MJF
RICKY DIXON, et al.,
     Defendants.
_______________________________/
                        ORDER SETTING TRIAL DATE

      This order follows yesterday’s telephonic hearing. As stated then, the clerk

will reset the trial for February 22, 2022.

      SO ORDERED on January 21, 2022.

                                        s/ Allen Winsor
                                        United States District Judge
